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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

CITY OF BEAUFORT; et al.,                  )
                                           )        No. 2:18-cv-03326-RMG
                                           ) (Consolidated with 2:18-cv-03327-RMG)
                               Plaintiffs, )
                                           )
        v.                                 )    PLAINTIFFS’ RESPONSE TO
                                           ) FEDERAL DEFENDANTS’ STATUS
NATIONAL MARINE FISHERIES SERVICE; et )                    REPORT
al.,                                       )
                                           )
                               Defendants. )
                                           )
                                           )
SOUTH CAROLINA COASTAL                     )
CONSERVATION LEAGUE; et al.,               )
                                           )
                               Plaintiffs, )
                                           )
        v.                                 )
                                           )
WILBER ROSS, in his official capacity as   )
secretary of commerce; et al.,             )
                                           )
                               Defendants. )
                                           )


       Plaintiffs, City of Beaufort, et al., in response to the State of South Carolina’s Motion for

Extension, concur with the arguments submitted by the Environmental Plaintiffs in their

Response to Federal Defendants’ Status Report, ECF No. 284. Given the Federal Defendants

have asserted the BOEM applications will continue to be reviewed despite the ruling in League

of Conservation Voters et al. v. Trump et al, Case No. 3:17-cv-00101-SLG (D. Alaska)

(Cruickshank Decl. ¶4, ECF No. 281-1), it is all the more crucial this Court grant the pending
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motions for preliminary injunction. The BOEM permits are likely to be issued prior to a decision

on the merits of Plaintiffs’ legal challenge and the irreparable harm will follow.

        Therefore, the Federal Defendants’ Status Report further supports Plaintiffs’ motions for

injunctive relief.

        Respectfully submitted this 17th day of May, 2019.



                                              s/ Leslie S. Lenhardt
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